Case 2:16-cv-06411-CAS-FFM Document 69-4 Filed 07/10/17 Page 1 of 16 Page ID #:686




                         Exhibit A
   Case 2:16-cv-06411-CAS-FFM Document 69-4 Filed 07/10/17 Page 2 of 16 Page ID #:687


Wilson, Drew

From:                                  Wilson, Drew
Sent:                                  Wednesday, June 28, 2017 4:46 PM
To:                                    'acalvaruso@kelleydrye.com'; 'mlynch@kelleydrye.com'; 'crossi@kelleydrye.com';
                                       'kkronstadt@kelleydrye.com'; 'ladocket@kelleydrye.com'
Cc:                                    Bleeker, Warren; Nelson, Gary; Bolter, Linda L.; Chavez, Norberto; Koplow, Mike
Subject:                               Request to Meet and Confer Lodestar v. Bacardi LRRC Ref. No. 302289-00006


Andrea,

As you know, the court in the Florida found “the most impelling and unusual circumstances” that justified retransfer of
the case back to the Central District. (Opp. at 6) These “impelling and unusual circumstances” arose from Bacardi’s
“misleading representations to the Central District of [California] concerning personal jurisdiction” that lead the Central
District to erroneously find that venue was appropriate in Florida. (Opp. at 15)

The motion to transfer venue should never have been brought. As the Florida court noted, “courts almost unanimously
hold that a party seeking to transfer a case under 28 U.S.C. 1404(a) must demonstrate that the transferee court has
subject matter jurisdiction, that venue is proper and that there is personal jurisdiction in the transferee forum over each
defendant in a given action.” (Opp. at 10) As the Florida court held, Wild v. Subscription, 292 F.3d 526, 531 (7th Cir.
2002), the one case that did not have the requirement for each defendant was not a 9th Circuit case and was easily
distinguishable. Bacardi had no good faith basis for bringing the transfer motion.

These same “impelling and unusual circumstances” also justify sanctions against Bacardi. Therefore, Lodestar requests
that Bacardi meet and confer with Lodestar no later than Monday July 3, 2017 to discuss Lodestar’s pending motion for:

    •     Attorney’s fees for the motion to transfer filed in the Central District, the motion for reconsideration filed in the
          Central District, the motion for retransfer filed in Florida, the motion to dismiss Bacardi filed in Florida, and this
          motion.
    •     Costs for all of the above motions.
    •     All costs and fees associated with Lodestar’s retention of local counsel in Florida.
    •     All costs and fees associated with Lodestar’s pro hac admissions in Florida.
    •     All costs and fees associated in any way with the Florida case.
    •     An order revoking Bacardi’s attorney’s pro hac admissions.
    •     An order finding that Bacardi has waived its personal jurisdiction arguments as a result of its behavior.
    •     An order deeming venue to be sufficiently convenient for the parties in California.
    •     An order prohibiting Bacardi from filing a second motion to transfer.

Please let me know your availability as soon as possible.

Respectfully,

Drew Wilson
Intellectual Property Attorney
626.683.4589 office
DWilson@lrrc.com
_____________________________



Lewis Roca Rothgerber Christie LLP                         Exhibit A
655 North Central Avenue, Suite 2300
                                                             -3-
                                                                1
   Case 2:16-cv-06411-CAS-FFM Document 69-4 Filed 07/10/17 Page 3 of 16 Page ID #:688
Glendale, CA 91203-1445
lrrc.com




                                       Exhibit A
                                         -4-
                                           2
Case 2:16-cv-06411-CAS-FFM Document 69-4 Filed 07/10/17 Page 4 of 16 Page ID #:689




                         Exhibit B
   Case 2:16-cv-06411-CAS-FFM Document 69-4 Filed 07/10/17 Page 5 of 16 Page ID #:690


Wilson, Drew

From:                              Calvaruso, Andrea <ACalvaruso@KelleyDrye.com>
Sent:                              Thursday, June 29, 2017 2:23 PM
To:                                Wilson, Drew; Lynch, Michael; Rossi, Carla; Kronstadt, Ken; LADocket@KelleyDrye.com
Cc:                                Bleeker, Warren; Nelson, Gary; Bolter, Linda L.; Chavez, Norberto; Koplow, Mike
Subject:                           RE: Request to Meet and Confer Lodestar v. Bacardi LRRC Ref. No. 302289-00006




Drew:

We don’t agree with your characterization of the Florida Court’s order and we disagree that there is any basis
for your proposed motion.

We are not available to meet and confer on July 3rd. We are available July 5th from 2-3 ET or July 6th at 11 am
ET.

Andrea



ANDREA CALVARUSO
Chair, Trademark and Copyright Practice

Kelley Drye & Warren LLP
(212) 808-7853
acalvaruso@kelleydrye.com


From: Wilson, Drew [mailto:DWilson@lrrc.com]
Sent: Wednesday, June 28, 2017 7:46 PM
To: Calvaruso, Andrea <ACalvaruso@KelleyDrye.com>; Lynch, Michael <MLynch@KelleyDrye.com>; Rossi, Carla
<CRossi@KelleyDrye.com>; Kronstadt, Ken <KKronstadt@KelleyDrye.com>; LADocket@KelleyDrye.com
Cc: Bleeker, Warren <wbleeker@lrrc.com>; Nelson, Gary <gnelson@lrrc.com>; Bolter, Linda L. <LBolter@lrrc.com>;
Chavez, Norberto <nchavez@lrrc.com>; Koplow, Mike <MKoplow@lrrc.com>
Subject: Request to Meet and Confer Lodestar v. Bacardi LRRC Ref. No. 302289-00006

Andrea,

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2002), the one case that did not have the requirement for each defendant was not a 9th Circuit case and was easily
distinguishable. Bacardi had no good faith basis for bringing the transfer motion.
                                                        Exhibit B
                                                          -5-
                                                             1
    Case 2:16-cv-06411-CAS-FFM Document 69-4 Filed 07/10/17 Page 6 of 16 Page ID #:691
These same “impelling and unusual circumstances” also justify sanctions against Bacardi. Therefore, Lodestar requests
that Bacardi meet and confer with Lodestar no later than Monday July 3, 2017 to discuss Lodestar’s pending motion for:

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           Central District, the motion for retransfer filed in Florida, the motion to dismiss Bacardi filed in Florida, and this
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     •     All costs and fees associated with Lodestar’s retention of local counsel in Florida.
     •     All costs and fees associated with Lodestar’s pro hac admissions in Florida.
     •     All costs and fees associated in any way with the Florida case.
     •     An order revoking Bacardi’s attorney’s pro hac admissions.
     •     An order finding that Bacardi has waived its personal jurisdiction arguments as a result of its behavior.
     •     An order deeming venue to be sufficiently convenient for the parties in California.
     •     An order prohibiting Bacardi from filing a second motion to transfer.

Please let me know your availability as soon as possible.

Respectfully,

Drew Wilson
Intellectual Property Attorney
626.683.4589 office
DWilson@lrrc.com
_____________________________



Lewis Roca Rothgerber Christie LLP
655 North Central Avenue, Suite 2300
Glendale, CA 91203-1445
lrrc.com




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Warren LLP for any loss or damage arising in any way from its use.




                                                                            Exhibit B
                                                                              -6-
                                                                                  2
Case 2:16-cv-06411-CAS-FFM Document 69-4 Filed 07/10/17 Page 7 of 16 Page ID #:692




                         Exhibit C
Case 2:16-cv-06411-CAS-FFM Document 69-4 Filed 07/10/17 Page 8 of 16 Page ID #:693




                                    Exhibit C
                                      - 7-
Case 2:16-cv-06411-CAS-FFM Document 69-4 Filed 07/10/17 Page 9 of 16 Page ID #:694




                                    Exhibit C
                                      - 8-
Case 2:16-cv-06411-CAS-FFM Document 69-4 Filed 07/10/17 Page 10 of 16 Page ID
                                  #:695




                       Exhibit D
        Case 2:16-cv-06411-CAS-FFM Document 69-4 Filed 07/10/17 Page 11 of 16 Page ID
                                          #:696

Wilson, Drew

From:                              Lynch, Michael <MLynch@KelleyDrye.com>
Sent:                              Friday, June 30, 2017 7:02 PM
To:                                Wilson, Drew; Calvaruso, Andrea; Kronstadt, Ken; LADocket@KelleyDrye.com; Steinman,
                                   Ryan
Cc:                                Bleeker, Warren; Nelson, Gary; Bolter, Linda L.; Chavez, Norberto; Koplow, Mike
Subject:                           Re: Request to Meet and Confer Lodestar v. Bacardi LRRC Ref. No. 302289-00006




Counsel,


You have not satisfied your meet and confer obligations. You ignored my email from earlier today. Leaving my
colleagues vague voice mails at 8pm on a Friday evening of a long weekend is insufficient. Your proposal to speak
Monday is unreasonable in light of the national holiday and especially rich coming just days after you asked us to extend
you a "professional courtesy" to postpone the scheduling conference in Florida so that one of your colleagues could go
on a long-planned vacation in south east Asia - a request we did not oppose. Despite knowing about that hearing for
almost two months, you only bothered to inform us of the long-planned vacation just a few days before the scheduled
hearing. Your efforts to forego a meet and confer now or to force a discussion on a national holiday are not compliant
with your obligations.


We have provided sufficient and reasonable options for a meet and confer but you continue to ignore them.


You have also now admitted that your opposition to Bacardi Ltd.'s motion was unwarranted.


We stand ready to meet and confer on the dates and times we provided.

MICHAEL C. LYNCH
Chair, Litigation Practice Group
Kelley Drye & Warren LLP
101 Park Avenue
New York, NY 10178
Tel: (212) 808-5082
Cell: (917) 405-4946

WWW.KELLEYDRYE.COM
Bio
mlynch@kelleydrye.com


On Jun 30, 2017, at 1:25 PM, Lynch, Michael <MLynch@KelleyDrye.com> wrote:

         Counsel,

                                                       Exhibit D
                                                         -9-
                                                            1
Case 2:16-cv-06411-CAS-FFM Document 69-4 Filed 07/10/17 Page 12 of 16 Page ID
                                  #:697
 We disagree that you have fulfilled your meet and confer obligations. Local Rule 7-3 requires
 you to discuss thoroughly the substance of the contemplated motion and any potential
 resolution.

 Numerous courts have clarified that a party’s attempts to satisfy the meet and confer obligations
 set forth in LR 7-3 by sending emails or letters – i.e., without actually discussing the
 contemplated motion – are insufficient. Abtahi v. Chase Home Fin. LLC, No. SACV 09-1511-
 JST (ANx)), 2011 U.S. Dist. LEXIS 68428, at *2 (C.D. Cal. June 27, 2011) (stating “the mailing
 of a letter is not a ‘conference’ pursuant to the local rule.”). See also Aviles v. Quik Pick
 Express,LLC, No. CV-15-5214-MWF (AGR), 2015 U.S. Dist. LEXIS 127888, at *5-6 (C.D. Cal.
 Sept. 23, 2015) (finding e-mail correspondence without an actual conference before the filing of
 a motion was not in strict compliance with Local Rule 7-3); Dickens v. Am. Int’l Grp. Inc., No.
 CV 13-02181 BRO (DTBx), 2014 U.S. Dist. LEXIS 22216, at *1-4 (C.D. Cal. Feb. 20,
 2014) (finding Plaintiff’s counsel failed to comply with Local Rule 7-3 where there was no
 attempt to meet and confer prior to filing a motion and noting Local Rule 7-3 “is of such
 importance that a district court may even deny a party’s motion for failing to comply with its
 requirements”); Alcatel-Lucent USA, INC. v. Dugdale Commc’ns, Inc., No. CV 09-2140 PSG
 (JCx), 2009 U.S. Dist. LEXIS 100499, at *9-11 (C.D. Cal. Oct. 13, 2009) (stating “[t]he meet and
 confer requirements of Local Rule 7-3 are in place for a reason, and counsel is warned that
 nothing short of strict compliance with the local rules will be expected in this Court. Thus, the
 motion is also denied for failure to comply with Local Rule 7-3.”); Superbalife, Int’l v. Powerpay,
 No. CV 08-5009, 2008 U.S. Dist. LEXIS 89204, at *3-5 (C.D. Cal. Oct. 7, 2008) (denying motion
 where brief phone call requesting extension and confirming email was insufficient to constitute
 compliance with required rule regarding conferences).

 Your position is not clear from your email and we would like to discuss it thoroughly over the
 phone. The concerns we would like to discuss include, but are not limited to, what legal
 support, if any, you have for certain of the draconian remedies you seek in your motion. Without
 knowing the legal basis for the remedies sought, we cannot meaningfully evaluate your motion
 as contemplated under LR 7-3. Additionally, we note that you now argue that the "motion to
 transfer venue should never have been brought,” which means you are now acknowledging that
 there is no personal jurisdiction over Bacardi Ltd., something we asked you to consent to many
 months ago.

 We are prepared to meet and confer on July 5 between 2:00-4:00pm EST or July 6 between
 12:00-5:00pm EST. Please let us know what time works and we will set up the call.



 MICHAEL C. LYNCH
 Chair, Litigation Practice Group
 Kelley Drye & Warren LLP
 Tel: (212) 808-5082
 Cell: (917) 405-4946
 mlynch@kelleydrye.com


 From: Wilson, Drew [mailto:DWilson@lrrc.com]
 Sent: Thursday, June 29, 2017 7:22 PM
 To: Calvaruso, Andrea <ACalvaruso@KelleyDrye.com>; Lynch, Michael <MLynch@KelleyDrye.com>;
 Rossi, Carla <CRossi@KelleyDrye.com>; Kronstadt, Ken <KKronstadt@KelleyDrye.com>;
 LADocket@KelleyDrye.com
 Cc: Bleeker, Warren <wbleeker@lrrc.com>; Nelson, Gary <gnelson@lrrc.com>; Bolter, Linda L.
                                             Exhibit D
                                              -10-
                                                  2
Case 2:16-cv-06411-CAS-FFM Document 69-4 Filed 07/10/17 Page 13 of 16 Page ID
                                  #:698
 <LBolter@lrrc.com>; Chavez, Norberto <nchavez@lrrc.com>; Koplow, Mike <MKoplow@lrrc.com>
 Subject: RE: Request to Meet and Confer Lodestar v. Bacardi LRRC Ref. No. 302289-00006

 Hi Andrea,

 Lodestar has identified in detail the basis for its upcoming motion, and Bacardi has stated that it will
 oppose the motion. We have therefore satisfied our meet and confer requirements. You are welcome
 to call us if you have any further questions.

 Respectfully,

 Drew

 Drew Wilson
 Intellectual Property Attorney
 626.683.4589 office
 DWilson@lrrc.com
 _____________________________
 <image001.png>
 Lewis Roca Rothgerber Christie LLP
 655 North Central Avenue, Suite 2300
 Glendale, CA 91203-1445
 lrrc.com



 From: Calvaruso, Andrea [mailto:ACalvaruso@KelleyDrye.com]
 Sent: Thursday, June 29, 2017 2:35 PM
 To: Wilson, Drew; Lynch, Michael; Rossi, Carla; Kronstadt, Ken; LADocket@KelleyDrye.com
 Cc: Bleeker, Warren; Nelson, Gary; Bolter, Linda L.; Chavez, Norberto; Koplow, Mike
 Subject: RE: Request to Meet and Confer Lodestar v. Bacardi LRRC Ref. No. 302289-00006




 We are not available tomorrow.



 ANDREA CALVARUSO
 Chair, Trademark and Copyright Practice
 Kelley Drye & Warren LLP
 (212) 808-7853
 acalvaruso@kelleydrye.com


 From: Wilson, Drew [mailto:DWilson@lrrc.com]
 Sent: Thursday, June 29, 2017 5:34 PM
 To: Calvaruso, Andrea <ACalvaruso@KelleyDrye.com>; Lynch, Michael <MLynch@KelleyDrye.com>;
 Rossi, Carla <CRossi@KelleyDrye.com>; Kronstadt, Ken <KKronstadt@KelleyDrye.com>;
 LADocket@KelleyDrye.com
 Cc: Bleeker, Warren <wbleeker@lrrc.com>; Nelson, Gary <gnelson@lrrc.com>; Bolter, Linda L.
 <LBolter@lrrc.com>; Chavez, Norberto <nchavez@lrrc.com>; Koplow, Mike <MKoplow@lrrc.com>
 Subject: RE: Request to Meet and Confer Lodestar v. Bacardi LRRC Ref. No. 302289-00006

 What is your availability tomorrow?
                                                Exhibit D
                                                 -11-
                                                     3
Case 2:16-cv-06411-CAS-FFM Document 69-4 Filed 07/10/17 Page 14 of 16 Page ID
                                  #:699
 Drew Wilson
 Intellectual Property Attorney
 626.683.4589 office
 DWilson@lrrc.com
 _____________________________
 <image002.png>
 Lewis Roca Rothgerber Christie LLP
 655 North Central Avenue, Suite 2300
 Glendale, CA 91203-1445
 lrrc.com



 From: Calvaruso, Andrea [mailto:ACalvaruso@KelleyDrye.com]
 Sent: Thursday, June 29, 2017 2:23 PM
 To: Wilson, Drew; Lynch, Michael; Rossi, Carla; Kronstadt, Ken; LADocket@KelleyDrye.com
 Cc: Bleeker, Warren; Nelson, Gary; Bolter, Linda L.; Chavez, Norberto; Koplow, Mike
 Subject: RE: Request to Meet and Confer Lodestar v. Bacardi LRRC Ref. No. 302289-00006




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 Andrea



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 LADocket@KelleyDrye.com
 Cc: Bleeker, Warren <wbleeker@lrrc.com>; Nelson, Gary <gnelson@lrrc.com>; Bolter, Linda L.
 <LBolter@lrrc.com>; Chavez, Norberto <nchavez@lrrc.com>; Koplow, Mike <MKoplow@lrrc.com>
 Subject: Request to Meet and Confer Lodestar v. Bacardi LRRC Ref. No. 302289-00006

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                                                Exhibit D
                                                 -12-
                                                     4
Case 2:16-cv-06411-CAS-FFM Document 69-4 Filed 07/10/17 Page 15 of 16 Page ID
                                  #:700
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 Respectfully,

 Drew Wilson
 Intellectual Property Attorney
 626.683.4589 office
 DWilson@lrrc.com
 _____________________________
 <image003.png>
 Lewis Roca Rothgerber Christie LLP
 655 North Central Avenue, Suite 2300
 Glendale, CA 91203-1445
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      Case 2:16-cv-06411-CAS-FFM Document 69-4 Filed 07/10/17 Page 16 of 16 Page ID
                                                       #:701
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Warren LLP for any loss or damage arising in any way from its use.




                                                                      Exhibit D
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